                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

EZEQUIEL OLIVARES ABARCA,
individually and on behalf of all those
similarly situated;

                   Plaintiffs,

       v.                                            8:14CV319
                                                    (Lead Case)
WERNER ENTERPRISES, INC., et al.,

                   Defendants.

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WILLIAM SMITH, on behalf of himself and all
others similarly situated, and on behalf of the
general public,

                   Plaintiffs,

v.                                                   8:15CV287
                                                   (Member Case)
WERNER ENTERPRISES, INC., et al.,

                   Defendants.

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BRIAN VESTER and JOEL MORALES,
individually and on behalf of all others
similarly situated,

                  Plaintiffs,

v.                                                   8:17CV145
                                                   (Member Case)
WERNER ENTERPRISES, INC., et al.,

                 Defendants.

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    DANIEL BRYANT, individually and on
    behalf of all others similarly situated,

                      Plaintiffs,

    v.
                                                                             8:20CV227
    WERNER ENTERPRISES, INC., et al.,                                      (Member Case)

                      Defendants.


          This matter is before the Court on the defendants’ motions for partial summary

judgment, Filing No. 353 in 8:14cv319, Filing No. 258 in 8:15cv287, Filing No. 216 in

8:17cv145, and Filing No. 92 in 8:20cv227. In these consolidated cases, the plaintiffs,

who are current and former truck drivers for defendants Werner Enterprises, Inc. and

Drivers Management, LLC (collectively, “Werner”), assert a number of wage and hour

claims under California and Nebraska law. This Court has jurisdiction under the Class

Action Fairness Act, 28 U.S.C. § 1332(d) (“CAFA”).

I.        BACKGROUND

          Plaintiffs originally filed suit on August 25, 2014, and filed the operative complaint

on January 6, 2017.          Filing No. 160, Revised Fourth Amended Complaint.1 In the

operative complaint, they allege, on behalf of the classes, that they were not paid and

provided benefits required by their non-exempt employee status in violation of California

and Nebraska law, including

          not having been paid for off- the-clock work (whether calculated at statutory
          minimum wage or regular rate of pay) in violation of California law and
          Nebraska law, not having been provided duty free meal and rest periods or
          paid premium pay in their absence in violation of California law, having

1For ease of reference, the Court will hereinafter refer to pleadings filed in the lead case, Abarca v. Werner
Enters., Inc. ("Abarca"), No. 8:14-cv-319. Generally, there are corresponding pleadings in the member
cases.

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       improper deductions made by Defendants in violation of California law for
       work performed in California and in violation of Nebraska law for work
       performed anywhere, not having received properly itemized pay statements
       in violation of California law and Nebraska law, and not having accurate and
       complete time and pay records maintained for work performed in California
       in violation of California law.

Id. at 5. This Court earlier adopted the Magistrate Judge’s recommendation to certify two

classes of truck drivers, totaling over 66,000 drivers:

       (1) the California Class, consisting of all drivers who both resided and
       worked in California during the class period, who seek recovery under
       California wage-and-hour law only for work performed in California; and

       (2) the Nebraska Class, consisting of all drivers during the class period, and
       seeking recovery under Nebraska wage and hour law based on the
       Nebraska choice-of-law provisions in Werner’s contracts.

Filing No. 190, Memorandum and Order, Filing No. 186, Findings, Recommendation and

Order. In certifying the classes, the court found “the plaintiffs’ claims hinge on the

question of whether Werner’s nationwide system of compensation violates the law” and

that “the legality of class-wide policies on compensation for all hours of work, payment of

minimum wages, payroll deductions, wage statements, and meal and rest breaks are

questions capable of resolution through common evidence that can be resolved once for

the entire class.” Filing No. 190 at 3–4.

       Werner moves for partial summary judgment on the plaintiffs’ minimum wage

claims and pay statement claims. The plaintiffs concede they will not pursue a claim for

allegedly deficient pay statements. Filing No. 361, Plaintiffs’ Brief at 4. Accordingly, that

portion of the defendant’s motion will be denied as moot.

       The claims challenged in this motion are the claim that Werner violated Cal. Lab.

Code § 226.2 (West) by failing to provide separate compensation for nondriving time and

the claim that Werner violated both the NWPCA and the NWHA by borrowing from wages


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promised for miles driven to cover otherwise undercompensated nondriving work.

Werner argues, with respect to the California class, that undisputed evidence shows that

the truck drivers agreed that they would be paid by the trip, rather than by the mile, and

that Werner was therefore not required to provide separate compensation for nondriving

time. With respect to the Nebraska class, Werner argues that there is no classwide

evidence that Werner specifically agreed to pay drivers a separate additional hourly rate

for non-driving time. Werner relies on Ayala v. U.S. Xpress Enterprises, Inc., 851 F. App'x

53, 54 (9th Cir. 2021) and See Oman v. Delta Air Lines, Inc., 9 Cal. 5th 762 (2020) as

support for its argument that California law does not require an employer to compensate

drivers separately for non-driving duties.

       The plaintiffs respond that there are genuine issues of material fact that preclude

summary judgment on these issues. They argue that both California and Nebraska law

guarantee at least the minimum wage for all work time, analyzed hour-by-hour, and forbid

employers from borrowing from contractually agreed-upon wages to cover otherwise

undercompensated work.

II.    FACTS

       Salient facts are set out in the Court’s earlier orders and need not be repeated

here except as relevant to the Court’s determination.          Filing No. 186, Findings,

Recommendation and Order at 7 –12; Filing No. 190 , Memorandum and Order at 3 –4

This class action involves the question of whether Werner’s system of compensation

violates various wage and hour laws of California and Nebraska.          In the operative

complaint, the plaintiff class members allege that Werner’s compensation system results

in a uniform policy and practice of not paying all wages owed, not paying for all time



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worked, including compensable rest periods and compensable on-duty non-driving time,

not paying premium hours for missed meal/rest periods (for the California Class),2 making

improper deductions from pay for work performed, not providing properly itemized pay

statements that accurately reflect hours worked, and not maintaining records that

accurately reflect hours worked and applicable hourly rates.3 Filing No. 160, Fourth

Amended Complaint at 6. The plaintiffs allege “Werner systematically violates the wage-

and-hour laws of both California and Nebraska” by implementing the above payment

structures and policies. Werner has asserted numerous affirmative defenses to the

plaintiffs’ claims. See Filing No. 161, Answer at 9–12.

        In accordance with the Local Civil Rule 56.1(a)(1), the parties have submitted

statements of purportedly undisputed facts. See Filing No. 354, Defendant’s Brief at 4–

9; Filing No. 361, Plaintiff’s Response at 4–9; Filing No. 364, Defendant’s Reply Brief at

4–8. The defendant submits sixteen separately numbered paragraphs of supposedly

undisputed facts and the plaintiffs dispute or object to all but five of them. Id. In support

of their positions, the parties submit evidence and deposition testimony. See Filing Nos.

355, 362, 365, Indices of Evidence, and Filing No. 363, Supplement.

        For purposes of this motion, the parties agree only that that defendant Werner

Enterprises, Inc. is a trucking company engaged in the hauling and delivery of freight



        2   The meal and rest break claims have been dismissed. Filing No. 351.

          3 Specifically, the plaintiffs allege: (1) Werner’s compensation plan results in drivers sometimes

working without pay when the truck is not moving, working for less than the minimum wage when the truck
is moving slowly, and working without pay during sleeper berth time; (2) Werner’s policy requires drivers to
pay its business expenses through improper deductions and funding personal bonds; (3) Werner’s wage
statements fail to accurately display information required by law; and (4) Werner fails to provide drivers
working in California with duty-free meal and rest periods according to California law. See Filing No. 167,
plaintiffs’ class certification brief at 2–3.


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across the United States, with its principal place of business in Omaha, Nebraska; the

plaintiffs are current or former Werner truck drivers and during orientation; and all drivers

signed a document that provides:

       I understand that when I am paid by the mile, I will be paid by point-to-point
       mileage as set forth in Household Goods Carriers' Bureau (HHG) Mileage
       Guide (as published by Rand McNally) and that the pay mileage will in most
       cases be different than actual miles driven or odometer miles.

Filing No. 355-9, Ex. 1H, Employment Conditions between Driver and Drivers

Management (hereinafter, “employment conditions agreements”); see also Filing No.

355-12, Ex. 2, Declaration of Jaime Maus at 3; Filing No. 355-24, Ex. 2-L (versions of

employment conditions agreements in effect during the class period, with identical

language).    The plaintiffs similarly do not dispute that Werner produced various

employment forms signed by Werner drivers, including an Agreement form, the

Employment Conditions form referenced above, an Acknowledgment of Employment in

Nebraska form, and a Driver Pledge (collectively, the "Forms") during discovery and they

acknowledge that they received copies of the Driver Handbook. See id., Filing Nos. 355-

13 to 355-23, driver handbooks.

       Evidence of record shows there is essentially no dispute that Werner’s drivers are

paid by the mile, at varying mileage rates (“piece rate”). See Filing No. 186, Filing No.

362, Index of Evid., Ex. M, Werner Enterprises” Securities and Exchange Commission

Form 10-k; Filing No. 355-2, Ex. 1A, Deposition of Steven K. Tisinger, (“Tisinger Dep.”)

at 35–37; Filing No. 362, Ex. A, Tisinger Dep. at 23–33, 160. Steven K. Tisinger, Werner’s

Associate Vice-President of Accounting Administration, testified that Werner pays by the

mile. Filing No. 365-1, Ex. 1, Declaration of Steven K. Tisinger at 2. Filing No. 362, Ex.

A, Tisinger Dep. at 126.      Werner also may pay drivers supplemental pay and/or


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discretionary pay for certain things such as loading/unloading, layovers, lumpers, stop

pay, safety pay, etc. Filing No. 142-4, Ex. A, Tisinger Dep. at 20–21, 126. Tisinger also

testified about other types of pay such as student pay, discretionary pay, maintenance

layovers, miscellaneous pay, network optimization pay, safety pay, and shag pay. Id. at

130–32, 134–36. Exhibits indicate drivers are paid per diem rates and deadhead rates.

Filing No. 362, Ex. 1D, Smith wage statement; Filing No. 355-2, Tisinger Dep. at 131.

       Werner relies on its 2013 Driver Handbook and subsequent Handbooks, which are

given to drivers at orientation, to show that its policy is to compensate drivers for all

activities required to deliver a load, using predetermined trip pay based on estimated

miles. Filing No. 355-12, Ex. 2, Declaration of Jaime Maus at 2; see, e.g., Filing No. 355-

13, Ex. 2A, 2013 Handbook; Filing No. 142-14, Ex. K, handbook.                Werner’s driver

handbook outlines the Federal Motor Carrier Hours of Service (“HOS”) Duty Status

Definitions and requires drivers to log their own time as one of four statuses: “off duty,”

which includes rest breaks taken outside of the sleeper berth and meal breaks (line 1);

“sleeper berth” (line 2); “driving” (line 3); and “on duty-not driving” (line 4), which includes

all time “[f]rom the time you begin to work or are required to be ready to work until the

time you are relieved from work.” See, e.g., Filing No. 142-14, Handbook at 127. Line

4 activities include pre-trip and other inspections, physically loading and unloading the

trailer, paperwork and receipts at a customer, time spent providing a breath sample or

urine specimen, quarterly safety training, among others, but does not include rest time in

a parked vehicle or up to two hours in the passenger seat of a moving vehicle immediately

before or after an 8-hour consecutive break in the sleeper berth. Id.; see also Filing No.

362, Index of Evid., Ex. 1C, Smith driving log; Ex. 1D, Smith wage statement.



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      The driver handbooks provide:

      The mileage pay you earn, along with any taxable or nontaxable pay you
      earn (such as stop pay, loading/unloading pay, per diem, etc.) is intended
      to compensate you for all work activities, driving as well as non-driving.

See, e.g., id., 2013 Handbook at 53. Steven Tisinger acknowledged that the Handbooks

states: "You will not be paid for," followed by the statement

      You will not be paid assist or driver load/unload pay for: Throwing pallets,
      counting pieces, securing and unsecuring the load when the shipper loads
      or unloads, volunteering to assist load and/or unload when the customer
      profile states that you are not required to load and/or unload. Contact your
      fleet manager, slash, coordinator if you're unsure.

Filing No. 355-2, Tisinger Dep. at 139 (referring to handbook at 45).          The driver

handbooks explicitly state they are not contracts and “[n]one of the provisions of this

handbook are, or should be regarded as, contractual promises.” See, e.g., Filing No.

142-14, Ex. K, Handbook at 1.

      The record shows that class members understood they would be paid by the mile

and understood that their mileage pay compensated them for miles driven. See Filing

No. 362, Index of Evid., Ex. E – Ex. L, driver deposition excerpts. Tisinger testified that

Werner has no practice of cross-checking the drivers’ driving logs with their payroll

records to ensure that each drivers’ wages meet or exceed the minimum wage for time

worked during each pay period. Id., Ex. A, Tisinger Dep. at 32–33. The plaintiffs have

submitted, for illustrative purposes, driving logs and payroll records that arguably show

that certain named plaintiffs were not paid minimum wage. Filing No. 362, Index of Evid.,

Ex. 1C, Smith driving log excerpts; Ex. 1D, Smith wage statement. The plaintiffs have




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identified numerous duties for which they contend they were not paid. 4 Filing No. 355-7,

Ex. 1-F, plaintiffs' March 4, 2021, Interrogatory Answers.

II.     LAW

        “Summary judgment is proper ‘if the pleadings, the discovery and disclosure

materials on file, and any affidavits show that there is no genuine issue as to any material

fact and that the movant is entitled to judgment as a matter of law.’” Torgerson v. City of

Rochester, 643 F.3d 1031, 1042 (8th Cir. 2011) (en banc) (quoting Fed. R. Civ. P.

56(c)(2)). The court views facts in the light most favorable to the nonmoving party, and

makes no determinations of credibility. Cottrell v. Am. Fam. Mut. Ins. Co., S.I., 930 F.3d

969, 971–72 (8th Cir. 2019). Further, the Court does not weigh the evidence or draw

inferences, as those functions belong to the jury. Id. “Where the unresolved issues are

primarily legal rather than factual, summary judgment is particularly appropriate.”

         “California's wage and hour laws are remedial in nature and must be liberally

construed in favor of affording workers protection.” Ward v. United Airlines, Inc., 9 Cal.

5th 732 (2020). “A review of [California] labor statutes reveals a clear legislative intent

to protect the minimum wage rights of California employees to a greater extent than


4 The allegedly uncompensated or undercompensated activities include: waiting to be assigned a load and
remaining available for such assignment, waiting for information required to complete an assigned load;
attending while a truck is loaded or unloaded; attending a truck and trailer to ensure security of load and
truck; waiting to enter a dock or facility; communicating with shippers, consignees, and employees;
Qualcomm and/or phone communications with Werner; logging hours of service; completing and mailing
shipment paperwork (e.g., transflo); unloading or assisting in the unloading of a trailer (e.g., counting
freight); cleaning a trailer; completing mandatory training; loading or unloading equipment (e.g., pallets);
scaling loads (i.e. ensuring the overall weight of the truck and distribution of the weight on the axles meet
legal requirements); travel route planning; work schedule planning; finding parking; mandatory pre-trip
inspections of truck and trailer; completing trailer inspection forms; inspection of tractor and trailer in the
course of work; post-trip inspections; fueling the truck; checking engine oil; washing windows and mirrors;
monitoring and securing of freight; making minor repairs to the truck (e.g. blown lights); taking the truck in
for repairs and maintenance (e.g. new tires. oil changes, etc.); filling out reimbursement paperwork;
washing, cleaning and organizing the truck; purchasing supplies; record keeping. See Filing No. 355-7,
Ex. 1-F, plaintiffs' March 4, 2021, Interrogatory Answers.


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federally.” Armenta v. Osmose, Inc., 135 Cal. App. 4th 314, 323 (2005)(rejecting the Fair

Labor Standards Act model of averaging all hours worked “in any work week” to compute

an employer's minimum wage obligation). California's labor statutes reflect a strong

public policy in favor of full payment of wages for all hours worked. Id. at 324.

       The California Legislature has codified this principle as to piece-rate workers. Cal.

Lab. Code § 226.2(a)(1). That section of the Labor Code provides that piece-rate workers

“shall be compensated for . . . other nonproductive time separate from any piece-rate

compensation.” Id. It defines “other nonproductive time” as “time under the employer’s

control, exclusive of rest and recovery periods, that is not directly related to the activity

being compensated on a piece-rate basis.” Id.

       Under established California law, an employer cannot average pay over

uncompensated hours. See Oman, 9 Cal. 5th 762 (stating that “[s]tate law prohibits

borrowing compensation contractually owed for one set of hours or tasks to rectify

compensation below the minimum wage for a second set of hours or tasks, regardless of

whether the average of paid and unpaid (or underpaid) time exceeds the minimum

wage.”).   “This is known as the ‘no borrowing’ rule.” Ward v. United Airlines, Inc., No.

19-CV-03423-LB, 2021 WL 6427868, at *1 (N.D. Cal. Dec. 20, 2021), appeal dismissed,

No. 22-15043, 2022 WL 2693666 (9th Cir. July 11, 2022).

       “Because ‘[t]he compensation owed employees is a matter determined primarily

by contract,’ section 226.2 permits an employer and its employees to define the scope of

its piece-rate compensation system.” Ayala, 851 F. App'x at 54 (internal citation omitted)

(quoting Oman, 9 Cal. 5th 762–38). The “[s]tate law limits on wage borrowing permit

compensation schemes that promise to compensate all hours worked at a level at or



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above the minimum wage, even if particular components of those schemes fail to attribute

to each and every compensable hour a specific amount equal to or greater than the

minimum wage.” Oman, 9 Cal. 5th 762 (involving a promise to pay by the rotation, and

for each rotation, the promised compensation would always exceed the state minimum

wage per hour worked).         “Employers may legally compensate their employees on any

number of bases, including ‘by the standard of time, task, piece, commission basis, or

other method of calculation.’” Id. at 341–42 (noting that “[t]he minimum wage laws exist

to ensure that workers receive adequate and fair pay, not to dictate to employers and

employees what pay formulas they may, or may not, agree to adopt as a means to that

end.”).

          Interpreting the contract is the essential first step in applying the no-borrowing rule:

identifying the nature of the employer's contractual commitment to its employees. Oman,

9 Cal. 5th 762 (Liu, J. concurring) (stating that “[b]ecause the rule requires employers to

keep their contractual commitments in the course of fulfilling their minimum wage

obligations, whether the rule is violated turns on what an employer's contractual

commitments are.”) Whether an employer violates the no-borrowing rule “turns on the

nature of the pay structure the employer has promised.” Id. Consistent with general

contract interpretation principles, the employer's contractual commitment, including the

unit of promised pay, is based on the objectively reasonable expectations of the parties

at the time of contract.        Id.   Such principles include interpreting the employment

agreement as a whole and, if the contract language is ambiguous, looking to the context

surrounding its formation as well as the subsequent conduct of the parties. Id. The court

can look to the understanding of the parties to determine the scope of the piece-rate pay.



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Ayala, 851 F. App’x at 54. “Consistent with general contract interpretation principles, the

unit for which pay is promised should be determined based on the ‘mutual intention of the

parties as it existed at the time of contracting.’” Oman, 9 Cal. 5th 762 (majority opinion)

(quoting Cal. Civ. Code, § 1636).

       Also, “courts should be careful not to allow employers to characterize their

contractual commitments in ways that would effectively circumvent the no-borrowing

rule.” Id. at 342 (Liu, J., concurring). The rule “is grounded in the protections of the Labor

Code that prohibit an employer from diluting an employee's contractually promised

wages.” Id. at 343. Correctly identifying an employer's contractual commitment is critical

to ensuring that employers do not circumvent the no-borrowing rule simply by inserting

into employment agreements a minimum wage floor—i.e., an agreement to make up the

difference if an employee's promised pay, averaged over all hours worked, falls below the

applicable minimum wage. Id.; see also Vaquero v. Stoneledge Furniture LLC, 9 Cal.

App. 5th 98, 103 (2017), as modified (Mar. 20, 2017), as modified (Mar. 20, 2017) (finding

the no-borrowing rule barred the employer from using pay promised for an employee's

commission to fulfill its obligation to pay for rest breaks and noting the fact that the

employer supplemented an employee's commission if it fell below a specified hourly floor

did not cure the violation). Applying California law to determine whether an employer

controls an employee and therefore must compensate that employee for that time

requires a “case-specific” approach by the court. Ridgeway v. Walmart Inc, 946 F.3d

1066, 1079 (9th Cir. 2020).

       Although there is no specific statutory analog to California’s piece rate statute in

Nebraska, two statutes taken together achieve the same effect: (1) the NWHA, Neb. Rev.



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Stat. Ann. § 48-1203(1) (West), requires compensation at no less than the minimum wage

for all hours worked, calculated on an hour-by-hour basis; and (2) the NWPCA, Neb. Rev.

Stat. Ann. § 48-1229(6) (West), 48-1231(1), protects workers’ right to receive the amount

of compensation promised to them under a contract. See Petrone v. Werner Enterprises,

Inc., 121 F. Supp. 3d 860, 872 (D. Neb. 2015), on reconsideration in part, No. 8:11CV401,

2016 WL 1559571 (D. Neb. Apr. 18, 2016), and amended, No. 8:11CV401, 2017 WL

510884 (D. Neb. Feb. 2, 2017), opinion clarified, No. 8:11CV401, 2017 WL 11681375 (D.

Neb. May 9, 2017) (claims under the NWHA are calculated “on an hour-by-hour basis”):

Acosta v. Tyson Foods, Inc., 800 F.3d 468, 472 (8th Cir. 2015) (the NWPCA allows an

employee to recover only those wages that an employer previously has agreed to pay).

The NWHA was intended to have substantially the same coverage as the FLSA. Petrone

v. Werner Enterprises, Inc., No. 8:11CV401, 2016 WL 1559571, at *3 (D. Neb. Apr. 18,

2016).

III.     DISCUSSION

         The Court finds that Werner’s motion to dismiss the minimum wage laws should

be denied. Werner has not shown, as a matter of law, that its compensation policies and

practices satisfy California and Nebraska wage and hour laws. Werner essentially argues

that the piece rate unit at issue is the trip, including driving and nondriving time and related

activities. In order to prevail on its motion for partial summary judgment on the plaintiffs’

minimum wage claims, Werner would have to show that there is no genuine dispute that

drivers agreed to be paid a lump sum per trip. It would further have to show that its policy

of paying drivers by the trip, with predetermined trip pay based on estimated miles,

complies with California law and Nebraska law. Werner has not made such a showing.



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      Whether California and Nebraska law require Werner to compensate drivers

separately for non-driving duties is the one of the ultimate issues in the case. Resolution

of that issue is a question of law based on material facts that remain to be determined.

The plaintiffs have presented evidence that raises at least a genuine dispute of fact as to

what Werner promised to pay for. The drivers’ testified that they understood they were

paid by the mile and that mileage pay compensated them for miles driven. Determining

the parties’ understanding of the Werner’s compensation policies requires assessments

of credibility that are not appropriate at the summary judgment stage.

      The documents on which Werner relies consistently state that drivers are paid by

the mile and say nothing about “trip-based” pay. Werner acknowledges that it does not

cross-check the drivers’ payroll records to determine that the minimum wage is being met.

Werner has not shown that the implementation of its compensation system did not serve

to dilute the drivers’ contractually promised wages.

      There is some support for the plaintiffs’ position that the predetermined trip pay

based on estimated miles could not be counted toward time spent on non-driving job

duties. Werner explicitly disclaims that the driver handbooks constitute a contract. There

is some evidence, if credited, suggests that Werner promised, in the employment

conditions agreements, to pay drivers at their designated mileage rate for driving work,

and Werner failed to honor this commitment by borrowing from mileage pay to

compensate nondriving work.

      To the extent that the employment conditions agreements are ambiguous, the

drivers’ testimony as to their understanding of the compensation agreement creates a

genuine issue of material fact. Werner has formally stated on numerous occasions that



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it pays drivers by the mile, and that is not synonymous with by the trip. The record does

not support a finding that the parties agreed that the compensation they received was

intended to cover all the allegedly uncompensated or undercompensated delivery-related

tasks. Accordingly, there are genuine disputes of material fact about the nature and

scope of Werner’s compensation system that precludes summary judgment.

        The Court rejects Werner’s contention, in reliance on Ayala, 851 F. App'x at 54,

and Oman, 9 Cal. 5th 762, that its practice of paying drivers by the trip does not violate

California law. Those cases cannot support the weight Werner places on them.5 The

cases stand for the unremarkable general proposition that a pay scheme based on a

piece rate or unit formula can be legal under California law. Oman, 9 Cal. 5th 762 (stating

that under California law, employers may calculate compensation by the task or piece, by

the sale, or by any other convenient standard); Ayala, 851 F. App'x at 54 (stating that

California Labor Code § 226 permit and employer and its employees to define the scope

of its piece-rate compensation system). They do not establish that Werner’s system,

whether trip-based or mileage-based, complies with California law. In Ayala, however,

there was no factual dispute on what the piece-rate unit of measure was—in other words,

there was no dispute as to the understanding of the parties. See Ayala, 851 F. App'x at

54 (stating that the defendant trucking company “[paid] drivers the designated mileage

rate as compensation for completing a trip and delivering a load on behalf of [the trucking

company]” and finding that the plaintiff’s testimony that the load pay covered everything

he had to do to get the load delivered confirmed the understanding of the parties).                    In


         5 Noting that this Court had previously recognized that the relevant issue was whether California

law requires the defendants to compensate drivers separately for non-driving job duties, Werner argues
that “As evidenced by Ayala and Oman, the answer to that question is no.” Filing No. 354, Defendant’s
Brief at 3.

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contrast, there are disputes as to the understanding of the parties in this case. In Oman,

the Supreme Court of California approved a “pay by rotation” compensation system and

explained and reaffirmed the “no borrowing” principle. Oman, 9 Cal. 5th 762–37. The

resolution of the case explicitly “turned on the nature of Delta’s contractual commitments.”

Id. at 337. In other words, the case is expressly limited to its facts. The Court found

“Delta's four-formula method for calculating compensation guarantees that flight

attendants are always paid above the minimum wage for the hours worked during each

rotation without borrowing from compensation promised for other rotations.” Id. at 338.

No such finding can be made on this record. Werner has not established, as a matter of

law, that its compensation system guarantees a pay rate above the minimum wage.

Accordingly,

       IT IS ORDERED:

       1.      The defendants’ motions for partial summary judgment (Filing No. 353 in

8:14cv319, Filing No. 258 in 8:15cv287, Filing No. 216 in 8:17cv145, and Filing No. 92 in

8:20cv227) are denied.

       Dated this 27th day of July, 2022.


                                                 BY THE COURT:

                                                 s/ Joseph F. Bataillon
                                                 Senior United States District Judge




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